







		NO. 12-09-00220-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




LAKESHA BLOUNT,§
	APPEAL FROM THE 188TH

APPELLANT


V.§
	JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
	GREGG COUNTY, TEXAS






MEMORANDUM OPINION


PER CURIAM


	This appeal is being dismissed for want of jurisdiction.  Appellant attempts to appeal the
revocation of her deferred adjudication community supervision.  Sentence was imposed on June 5,
2009.

	Texas Rule of Appellate Procedure 26.2 provides that an appeal is perfected when notice of
appeal is filed within thirty days after the day sentence is imposed or suspended in open court unless
a motion for new trial is timely filed.  Tex. R. App. P. 26.2(a)(1).  Where a timely motion for new
trial has been filed, notice of appeal shall be filed within ninety days after the sentence is imposed
or suspended in open court.  Tex. R. App. P. 26.2(a)(2).  Appellant did not file a motion for new trial.
Therefore, Appellant's notice of appeal was due to have been filed on or before July 6, 2009. 
However, Appellant did not file her notice of appeal until July 8, 2009 and did not file a motion for
extension of time to file her notice of appeal as permitted by Texas Rule of Appellate Procedure
26.3.  See Tex. R. App. P. 26.3 (appellate court may extend time for filing notice of appeal if, within
fifteen days after deadline for filing notice of appeal, appellant files notice of appeal in trial court
and motion complying with Texas Rule of Appellate Procedure 10.5(b) in appellate court).


	On July 15, 2009, this court notified Appellant that her notice of appeal was untimely and
that there was no timely motion for an extension of time to file the notice of appeal as permitted by
rule 26.3.  Appellant was further informed that the appeal would be dismissed unless, on or before
July 27, 2009, the information filed in this appeal was amended to show the jurisdiction of this court.
The deadline imposed in our July 15, 2009 notice has now passed, and Appellant has neither shown
the jurisdiction of this court or otherwise responded to the notice.	

	Because this court has no authority to allow the late filing of a notice of appeal except as
provided by rule 26.3, the appeal must be dismissed.  See Slaton v. State, 981 S.W.2d 208, 210 (Tex.
Crim. App. 1998); Olivo v. State, 918 S.W.2d 519, 522 (Tex. Crim. App. 1996).  Accordingly, the
appeal is dismissed for want of jurisdiction.

Opinion delivered July 31, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.





















(DO NOT PUBLISH)


